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 8                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
 9
10     Scott Johnson                              Case No.
11               Plaintiff,
12                                                Complaint For Damages And
         v.                                       Injunctive Relief For Violations
13                                                Of: Americans With Disabilities
       Big Basin Properties, LLC, a               Act; Unruh Civil Rights Act
14     California Limited Liability
       Company; and
15     Zona Rosa LLC, a California
       Limited Liability Company
16               Defendants.
17
18         Plaintiff Scott Johnson complains of Big Basin Properties, LLC, a
19   California Limited Liability Company; Zona Rosa LLC, a California Limited
20   Liability Company; and alleges as follows:
21
22
23     PARTIES:

24     1. Plaintiff is a California resident with physical disabilities. Plaintiff is a

25   level C-5 quadriplegic. He cannot walk and also has significant manual

26   dexterity impairments. He uses a wheelchair for mobility and has a specially

27   equipped van.

28     2. Defendant Big Basin Properties, LLC owned the real property located at


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 1   or about 1411 The Alameda, San Jose, California, in July 2020.
 2     3. Defendant Big Basin Properties, LLC owns the real property located at
 3   or about 1411 The Alameda, San Jose, California, currently.
 4     4. Defendant Zona Rosa LLC owned Zona Rosa located at or about 1411
 5   The Alameda, San Jose, California, in July 2020.
 6     5. Defendant Zona Rosa LLC owns Zona Rosa (“Restaurant”) located at or
 7   about 1411 The Alameda, San Jose, California, currently.
 8     6. Plaintiff does not know the true names of Defendants, their business
 9   capacities, their ownership connection to the property and business, or their
10   relative responsibilities in causing the access violations herein complained of,
11   and alleges a joint venture and common enterprise by all such Defendants.
12   Plaintiff is informed and believes that each of the Defendants herein is
13   responsible in some capacity for the events herein alleged, or is a necessary
14   party for obtaining appropriate relief. Plaintiff will seek leave to amend when
15   the true names, capacities, connections, and responsibilities of the Defendants
16   are ascertained.
17
18     JURISDICTION & VENUE:
19     7. The Court has subject matter jurisdiction over the action pursuant to 28
20   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
21   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
22     8. Pursuant to supplemental jurisdiction, an attendant and related cause
23   of action, arising from the same nucleus of operative facts and arising out of
24   the same transactions, is also brought under California’s Unruh Civil Rights
25   Act, which act expressly incorporates the Americans with Disabilities Act.
26     9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
27   founded on the fact that the real property which is the subject of this action is
28   located in this district and that Plaintiff's cause of action arose in this district.


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 1
 2     FACTUAL ALLEGATIONS:
 3     10. Plaintiff went to the Restaurant in July 2020 with the intention to avail
 4   himself of its goods motivated in part to determine if the defendants comply
 5   with the disability access laws.
 6     11. The Restaurant is a facility open to the public, a place of public
 7   accommodation, and a business establishment.
 8     12. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
 9   to provide wheelchair accessible dining surfaces in conformance with the ADA
10   Standards as it relates to wheelchair users like the plaintiff.
11     13. The Restaurant provides dining surfaces to its customers but fails to
12   provide wheelchair accessible dining surfaces.
13     14. One problem that plaintiff encountered is the lack of sufficient knee or
14   toe clearance under the dining surfaces for wheelchair users.
15     15. Plaintiff believes that there are other features of the dining surfaces that
16   likely fail to comply with the ADA Standards and seeks to have fully compliant
17   dining surfaces for wheelchair users.
18     16. On information and belief the defendants currently fail to provide
19   wheelchair accessible dining surfaces.
20     17. These barriers relate to and impact the plaintiff’s disability. Plaintiff
21   personally encountered these barriers.
22     18. As a wheelchair user, the plaintiff benefits from and is entitled to use
23   wheelchair accessible facilities. By failing to provide accessible facilities, the
24   defendants denied the plaintiff full and equal access.
25     19. The failure to provide accessible facilities created difficulty and
26   discomfort for the Plaintiff.
27     20. Even though the plaintiff did not confront the following barriers, there
28   is an unramped step at the entrance of the restroom and the restroom mirror is


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 1   too high. Plaintiff seeks to have these barriers removed as they relate to and
 2   impact his disability.
 3     21. The defendants have failed to maintain in working and useable
 4   conditions those features required to provide ready access to persons with
 5   disabilities.
 6     22. The barriers identified above are easily removed without much
 7   difficulty or expense. They are the types of barriers identified by the
 8   Department of Justice as presumably readily achievable to remove and, in fact,
 9   these barriers are readily achievable to remove. Moreover, there are numerous
10   alternative accommodations that could be made to provide a greater level of
11   access if complete removal were not achievable.
12     23. Plaintiff will return to the Restaurant to avail himself of its goods and to
13   determine compliance with the disability access laws once it is represented to
14   him that the Restaurant and its facilities are accessible. Plaintiff is currently
15   deterred from doing so because of his knowledge of the existing barriers and
16   his uncertainty about the existence of yet other barriers on the site. If the
17   barriers are not removed, the plaintiff will face unlawful and discriminatory
18   barriers again.
19     24. Given the obvious and blatant nature of the barriers and violations
20   alleged herein, the plaintiff alleges, on information and belief, that there are
21   other violations and barriers on the site that relate to his disability. Plaintiff will
22   amend the complaint, to provide proper notice regarding the scope of this
23   lawsuit, once he conducts a site inspection. However, please be on notice that
24   the plaintiff seeks to have all barriers related to his disability remedied. See
25   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
26   encounters one barrier at a site, he can sue to have all barriers that relate to his
27   disability removed regardless of whether he personally encountered them).
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 1   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
 2   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
 3   Defendants.) (42 U.S.C. section 12101, et seq.)
 4     25. Plaintiff re-pleads and incorporates by reference, as if fully set forth
 5   again herein, the allegations contained in all prior paragraphs of this
 6   complaint.
 7     26. Under the ADA, it is an act of discrimination to fail to ensure that the
 8   privileges, advantages, accommodations, facilities, goods and services of any
 9   place of public accommodation is offered on a full and equal basis by anyone
10   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
11   § 12182(a). Discrimination is defined, inter alia, as follows:
12            a. A failure to make reasonable modifications in policies, practices,
13                or procedures, when such modifications are necessary to afford
14                goods,    services,    facilities,   privileges,    advantages,   or
15                accommodations to individuals with disabilities, unless the
16                accommodation would work a fundamental alteration of those
17                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
18            b. A failure to remove architectural barriers where such removal is
19                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
20                defined by reference to the ADA Standards.
21            c. A failure to make alterations in such a manner that, to the
22                maximum extent feasible, the altered portions of the facility are
23                readily accessible to and usable by individuals with disabilities,
24                including individuals who use wheelchairs or to ensure that, to the
25                maximum extent feasible, the path of travel to the altered area and
26                the bathrooms, telephones, and drinking fountains serving the
27                altered area, are readily accessible to and usable by individuals
28                with disabilities. 42 U.S.C. § 12183(a)(2).


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 1     27. When a business provides facilities such as dining surfaces, it must
 2   provide accessible dining surfaces.
 3     28. Here, accessible dining surfaces have not been provided in
 4   conformance with the ADA Standards.
 5     29. When a business provides paths of travel, it must provide accessible
 6   paths of travel.
 7     30. Here, accessible paths of travel have not been provided in conformance
 8   with the ADA Standards.
 9     31. When a business provides facilities such as restrooms, it must provide
10   accessible restrooms.
11     32. Here, accessible restrooms have not been provided in conformance with
12   the ADA Standards.
13     33. The Safe Harbor provisions of the 2010 Standards are not applicable
14   here because the conditions challenged in this lawsuit do not comply with the
15   1991 Standards.
16     34. A public accommodation must maintain in operable working condition
17   those features of its facilities and equipment that are required to be readily
18   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
19     35. Here, the failure to ensure that the accessible facilities were available
20   and ready to be used by the plaintiff is a violation of the law.
21
22   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
23   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
24   Code § 51-53.)
25     36. Plaintiff repleads and incorporates by reference, as if fully set forth
26   again herein, the allegations contained in all prior paragraphs of this
27   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
28   that persons with disabilities are entitled to full and equal accommodations,


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 1   advantages, facilities, privileges, or services in all business establishment of
 2   every kind whatsoever within the jurisdiction of the State of California. Cal.
 3   Civ. Code §51(b).
 4      37. The Unruh Act provides that a violation of the ADA is a violation of the
 5   Unruh Act. Cal. Civ. Code, § 51(f).
 6      38. Defendants’ acts and omissions, as herein alleged, have violated the
 7   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
 8   rights to full and equal use of the accommodations, advantages, facilities,
 9   privileges, or services offered.
10      39. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
11   discomfort or embarrassment for the plaintiff, the defendants are also each
12   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
13   (c).)
14      40. Although the plaintiff encountered frustration and difficulty by facing
15   discriminatory barriers, even manifesting itself with minor and fleeting
16   physical symptoms, the plaintiff does not value this very modest physical
17   personal injury greater than the amount of the statutory damages.
18
19             PRAYER:
20             Wherefore, Plaintiff prays that this Court award damages and provide
21   relief as follows:
22           1. For injunctive relief, compelling Defendants to comply with the
23   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
24   plaintiff is not invoking section 55 of the California Civil Code and is not
25   seeking injunctive relief under the Disabled Persons Act at all.
26           2. Damages under the Unruh Civil Rights Act, which provides for actual
27   damages and a statutory minimum of $4,000 for each offense.
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 1      3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
 2   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
 3
 4   Dated: November 13, 2020        CENTER FOR DISABILITY ACCESS
 5
 6                                   By:
 7                                   _______________________

 8                                          Amanda Seabock, Esq.
                                            Attorney for plaintiff
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